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From: David Chang <djchang81@gmail.com>
Date: Tuesday, July 19, 2022 at 8:49 AM
Subject: Celsius Network LLC Chapter 11 Bankruptcy


Dear Judge Glenn,

Firstly, I apologise for the cold contact I'm making via email through desperation.

Like many investors, I have lost a large chunk of my life savings and struggle to live daily with devastation and extreme
stress of watching on the sideline feeling powerless over my money, which I entrusted with Celsius to manage.

Alex Mashinsky and Celsius Management have been engaging in deceptive marketing of their platform and products
using catchy phrases such as "Unbank yourself" and "Banks are not your friends" to imply that leaving funds with Celsius
is just like depositing funds on savings accounts with traditional banks, if not superior.

This deceptive marketing strategy continued while they continued to gamble away customer funds in volatile markets
and failed to disclose the deteriorating financial health of the company and going as far as denying any problems via
Alex Mashinsky's own Twitter account 4 days in the lead up to announcing the pause of withdrawals. Attached is also a
screenshot of their website promoting its customers to Trust Celsius and the Whitepaper likening earning interest with
Celsius to like earning interest on a savings account with banks. Alex Mashinsky has also been very proactive on social
media platforms like Youtube and Twitter as well as hosting AMA (Ask me anything) sessions to mislead investors
(Screenshot attached).

I implore you to consider these facts and ensure that the vulnerable retail investors are protected from gross
mismanagement demonstrated by Alex Mashinsky and his management team to‐date. Retail investors have been
committing suicides as a result of this unforeseen incident and familes are being destroyed while Alex Mashinsky enjoys
the fruits of embezlling customer funds well before any signs of trouble was known to public.

Celsius customer base extends beyond the United States and its impacts are far‐reaching and impacting the lives of Non‐
US resident depositors like myself.
I pray that the United States Justice System will bring what justice it can to the impacted depositors with you at the
helm.

Thank you for taking the time to read my email.

Yours Sincerely

Duk J Chang
Celsius Deposit ‐ Unsecured Creditor




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